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                       EXHIBIT 17
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                         UNITED STATES MARINE CORPS
                               MARINE RAIDER SUPPORT GROUP
                         MARINE FORCES SPECIAL OPERATIONS COMMAND
                                       PSC BOX 20117
                                CAMP LEJEUNE NC 28542-0117

                                                                    IN REPL'l REFER TO:
                                                                    5800
                                                                    JKM
   From:   Major Joshua Mast, USMC
                                                                    MAY 1 7 2022
   To:     Commander, Marine Farces Special Operations Command or his
           Designee

   Subj:   PERMISSION TO TESTIFY ON MY DAUGHTER'S BEHALF INA VIRGINIA
           STATE PROCEEDING

   Ref:    (a) DoDD 5405.2
           (b) SECNAVINST 5820.BA

   1. Out of an abundance of caution, pursuant to the references,
   request approval to testify on my daughter's behalf in a Virginia
   Circuit Court proceeding in defense of her adoption on 24-26 May 2022.

   2. Reference (a) governs "Touhey" requests for Active-Duty personnel
   who testify in civilian proceedings. Reference (b) is the DoN's
   implementing instruction. Per enclosure (3), paragraph (4) (a) (1) of
   reference (b), the first General Court Martial Convening Authority
   (GCMCA) in my chain of command is the approval authority for this
   request.

   3. My testimcny is likely exempt from the requirements of the
   references pursuant to paragraph S(a) (7) (f) of reference (b). However,
   Reference (b) is a lawful general order, and I am formally requesting
   permission to ensure I am in compliance with the order.

   4. The information required by the references are provided as follows:

      a. The United States is not reasonably anticipated to become a
  party to the proceeding;

     b. The proceeding is in the Fluvanna County, Virginia Circuit
  Court, Case Number CL22000186-00;

      c.  Counsel representing the parties are Rakness and Wright, PLC
  (1540 Insurance Lane, Charlottesville, VA 22911, 434-284-7746) and
  Graham Law Firm, PLLC (116 Edwards Ferry Road, Leesburg, VA 20176,703-
  443-9360);

      d.  I was present in Afghanistan when my daughter was orphaned, I
  am familiar with the circumstance of her being orphaned, her origin,
  various physical custodians, her entry into the United States, and
  information related to her best interests.
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                 e. Factual testimony and unclassified documentation relating to
             my daughter's skull fracture, fractured femur, and 2nc1 degree burns to
             her face and neck, TriCare treatment, Don dependency approval, DoD
             Dependent ID .card, entry into the u.s., medical treatment in a DoD
             facility, origin, and anything affecting her best interests are
             relevant to the defense of her adoption. I know or have the
             information relating to the above.

                 f. The proceeding is currently scheduled for 24-26 May 2022, I
             will be in a leave status, and there will be no cost to the
             government.

             5. I believe this request is both routine and consistent with DoN
             policy "to make factual official information, both testimonial and
             documentary, reasonably availably for use_,in state courts... " as per
             paragraph 4(a) of reference (b).

             6. The point of contact for this matter is            oshua K. Mast, at
             (910) 440-0925.




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                                                   DEPARTMENT OF THE NAVY                    SECNAVINST S820. 8A
                                                      Office of the Secretary                JAG 34
                                                    Washington, DC 20350-1000                l7 August 1991

              SECNAV INSTRUCTION 5820.SA                           litigation purposes, and to prescribe conduct of
                                                                   DO!'i personnel in response to a litigation request
              From: Secretary of the Navy                          or demand.
              To:   All Ships and Stations
                                                                   2. Cancellation. SECNAVINST 5820.8 of
              Subj:    RELEASE OF OFFICIAL                         11 Aug 87.
                       INFORMATION FOR LITIGATION
                       PURPOSES AND TESTIMONY BY                   3.  Authority. Reference (a) establishes
                       DEPARTMENT OF THE NAVY (DON)               Department of Defense (DOD) policy, assigns
                       PERSONNEL                                  responsibilities, and prescribes procedures for
                                                                  releasing official DOD information for lltigation
              Ref:     (a) DOD Dlrectlve 5405,2 of                purposes and providing testimony by DOD per-
                           23 Jul 1985, 50 Fed. Reg. 32056,       sonnet for litigation purposes. References (b),
                           8 Au1 1985, 3l C.F.R. pt. 97,          (c), (d) and (e) are authority tor reference (a).
                           Release of Official Information in
                          Lltlgation and Testlmony by DOD         4. Pollcy
                          Personnel as Wltnesses
                      (b) 5 U.S.C, § 301 (1988)                       a. Genera!. It is DON policy to make
                      (C) 10 U.S.C, § 113 (1988)                  factual official information, bath testi.monial and
         A)           (d) 10 U.S.C. § 5013 (1988)                 documentary, reasonably available for use in
                      Ce) Unh,ed Stotes ex co). Tguhy Y,          Federal couns, state courts, forelgn courts, and
                          Bawl, 340     u.s.462 (1951)            other governmental proceedings unless that
                      (t) 5  u.s.c. §§ 552, 552a (1988)           Information is classltied, privileged, or otherwise
                      (&) Manual of the Judae Advocate            protecte.d from public disclosure. PON pcrson-
                          Genera!                                 oel Cas dçfin,;d lo cnçlosure CP, paraaz:aph 2).       (A
                      (h) DOD lnstructlon 7230. 7 of              howswec. shall not proYide suçh official lnfar-
                          25 Jan 1985, User Charaes               matjon. testlmony. or docuroenrs. submit 10
                          (codlfled at 3.2 C.F.R. pt, .288)       lotetVicw. or permit a view or visit. without the
                                                                  authorization rcguircd by cnç)osures c2) throuab
              Encl:   (1) Definltlon$                             (7) of this instructjon.                          '
                      (2) Authorlty to Act
                      (3) Authorlty to Determlne and                  b. Qplolao and Expert Icsttmony. DON              (A
                           Respond                                persooncl (as defined in ençlosure rn Pati-
                      (4) Contents of a Proper Request or         araph 2) shall not proyjdç. witb or without
                           Demind                                 cgropensation, 0."lnion er expert testimony
                      (S) Considerations In Determlning to        conçernioa official pop loformat!on. subiects.
                           Grant or Den,y a Request               pecsonoeL or ac1iyities. exçe.pt on behalf of the
                      (6) Action to Grant or Deny a Request       United StateS or a pany represemed by the
                      ('7) Response to R.equests or l>emands      Oepartmeot of Justice, or with tbe wrineo special
                          in Conflict with thls lnstrudlon        authori~ation tcQuired by bis ios1mction. Upon
                      (8) Fees and Expenses                       11showing by a requester of exceptional need or
         R}           (9) Sample Letters in Response to           unique circumsta nces, and that the anticipated
                          Lltigation Requests                     testimony will not be adverse to DOD interests or
                                                                  the United States.. the Genera! Counsel or the
              1.   Purpose. To implemenl reference (a)            Navy, the Judge Advocate Genera! of the 1':avy,
              regarding release of official information for       or their respective delegates may, in their sole
              liligation purposes and provision of testimony by   discrelion, granl such written special authori-
              Department of the Navy (DON) personnel for          zation for DON personnel to appear and testify

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        SECNAVINST 5820.8A
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        as expert or opinion witnesses at no expense to                   any written requesl for OO:'I: records as a request
        the United States. lt is expected that approval                   under the FOIA or Privacy Acts. Activities are
        for DON pe rsonnel to provide expert or opinion                   encouraged to t reat such r;.9uests for documents
        testimony rarely wil! be grnnted.                                 under the FOIA or the Pnvacy Act if they are
                                                                          invoked hy the requester either explicitly or by
        S.   Effect                                                       fair implication. fu 32 C.F .R. §§ 701.3(d) ,
                                                                          701. 10(a) . Activities are reminded that such
             a. Applicabilit y                                            treatment does not absolve them of the respon-
                                                                          sibility to respond In a timely fashion to Jegal
                (1) This instruction applies to all present               process. In any event, if the official information
        and former DON civilian and military personnel                    requested pertains to a litigation ma tter to which
        whether employed by, or assigned to, oo:-.                        the United States Is a present or potemial party,
        temporarily or permanently. Affected personnel                    the release authority should notify the de lega1e of
        are defined more fully in enclosure ( 1) .                        the General Counsel or the Judge Advocate
                                                                          Genera!, under enclosure (3), p aragraph 3.
                 (2) This instruction applies only to
        situations involving existing or reasonably antici-                       (7) Thls instruction does not appl} to
        pated litigat1on, as defined in enclosure ( 1).                   release of official information or testimony hy
        paragraph 3, when DOD information or witnesse~                    DO~ perso nnel in the following situations:
        are sought, whether or not the United State~.
        D0D, or its components are partles thereto. lt                               (a) Before courts-martial co nvened
        does not appl}· to forma] o r informal requests                   hy any DOD component, or in administrative
        for information in other situations.                              proceed ings conducted by, or on behalf of. such
                                                                          component:
                 (3) T h is instruction provides guidance
        only for DO:'\ operation and activities of its pre-                              (b) under administrative proceed-
        ser.t and former personnel. lt is not intended                    mg~ conducted by. or on behalf of. the Equal
        to, does not, and m ay not be relied upon to,                     Employment Opportunity Commission (EEOC)
        create any right or benefit, substantive or p roce-               nr th e Merit Systems Protection Board (:vlSPB) .
        dural, e nrorceable at law or equity against the                  lhe Federal Labor Relations Authority . the Fed:-_
        Cnited States, D0D, or DON.                                       era l Sen·,ce~ Impasse Panel, or under a negoti-
                                                                          ated grievance procedure under a collective bar-
                 (4) This instruction is nm intended to                   gaining agreement to which the Government i~ a
        infringe upon or dlsplace the responsibilities                    pany;
        commiued to the Department of Justice in
        conducting litigation on behalf of the Un ited                                   (c) in response to requests lly
        States.                                                           Federal Government counsel. or counsel repre-
                                                                          senting the interests of t he Federal Government.
                 (5) T his inmuction does not supersede                   in litigation conducted, in whole or in part, on
        or modify existing laws. DOD or DO:\ regula -                     hehal f of the Cnited State~ (U,, Medica! Care
        tions, directives, or instructions governing testi-               Recovery Act claims, affirmative claims, or
        mony of DO!\ personnel or release of official                     ~ubpoenas issued by, or concurred in by , Go,· -
        DOD or DO'°\ information during grand jury                        ~rnment counsel when the United States is a
        proceedings.                                                      pany). hut the regula tion does apply to an       (R
                                                                          action hrought under the .Qlli laJll prov1siom of
                 (6) This instruction does not control                    the False Claim~ Act in which a prha1e party
        relea~e of ofricial informa tion under the Freedom                hrings an action m the name or ,he Un1ted
        of Information Act (FOIA1, 5 C.S .C. § 552. or                    States but in which the Depanment or Justice
        the Privacy Act, 5 t;.S .C. § 552a (reference                     either has not yet determined to intervene in the
        (()) . Thi~ instruction dof$ not preclude trea1111g               lit1gation or ha~ declined to imer\'ene;



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                                                                                                          SECNAVJ NST S820,8A
                                                                                                               27 August 1991


                                  (d) as pan of the assistance                     b. Relationship with Fede ral Rules of         (A
                    required by the Defense Jndustrial Personnel              Procedure. The requirements imposed by this
                    Security Clearance Review Program under DOD               instruction are intended, among other things, to
                    Directive 5·220.6 of 12 August 1985 (NOTAL);              provide adequate notice to DON regarding the
                                                                              scope of proposed discovery. This will assure
                               (e) release of copies of Manual of             that cenain DON information, which properly
                   the Jud~e Advocate Genera! (JAGMAN) inves-                 should be withheld , is not inadvertently released
                   tigations, conducted under reference (g), to the           in response to a litigation request or demand,
                   next of kin (or their representatives) of deceased         including a subpoena or other request for
                   or incompetent naval personnel;                            dbcove ry issued under Federal rules of proce-
                                                                              dure. When the United States is a party to
                                  ( f) release of information by DON          Federal litigation and the party opponent uses
                   personnel to counsel retained on their behalf for          discovery methods (e.g. , request for interroga-
                   purposes of litigation, unless that information is        tories and admissions, dcpositions) set forth in
                   classified, privileged, or otherwise protected from        Federal rules of procedure, the Judge Advocate
                   disclosure. (In the Jatter event, compliance with         General or Genera! Counsel, in consultation with
                   reference (a) and this instruction i:i required.);        representatives of the Departmem of Justice or
                                                                             the cognizant United States Attorney, may
                                 (g) cases involving garnishment             determine whether the requirement for a
                   orders for child support and/or alimony. The              separate written request ln accordance with
                   release of official information in these cases is         enclosure (4) of this instruction should be
                   governed by 5 C. F.R. pt. 581 and SECNAV-                 waived. Even if this requirement is waived,
                   INST 7200 .16, or;                                        however, DON personnel who are subpoenaed to
                                                                             testify still will be required to obtain the M.iJ.im
              A)                  (h) release of information to Fed-         permjssion described in paragraph 4.
                   eral, state, and local prosecuting and law en-
......_,           forceme nt authorities, in conjunction with an                c. Violations. The underlined portions of
                   investigation conducted by a DOD component                paragraph 4 and enclosure (7) of this instruction
                   or DON crimina! investigative organization.               constitute a regulatory genera! o rder applicable to
                                                                             all DON personnel individually and need no
                             (8) This instruction does not preclude          funher implementation. A violation of those
                   official comment on matters in litigation in              provisions is punishable under the Uniform Code
                   appropriate cases.                                        of Military Justice for military personnel and is
                                                                             the basis for appropriate administrative proce-      (R
                             (9) The DOD Genera! Counsel may                 dures with respect to civilian employees. More-
                   notify DOD componems that DOD will assume                 over, violatlons of this instruction by DON per-
                   primary responsibility for coordinating all               sonnel may, onder certain circumstances, be
                   litigation requests for demands for official DOD          actionable under 18 U.S.C. § 207.
                   information or testimony of DOD personnel in
                   litigation involving terrorism, espionage, nuclear        6. Definitlons. Key terms utilized in this
                   weapons, and intelligence sources or means.               instruction are set forth in enclosure ( 1).
                   Accordingly, dete rmining officials who receive
                   requests pertaining to such litigation shall notify       7.   Actlon
                   the Associate Genera! Counsel (Litigation) or the
                   Deputy Assistant Judge Advocate General                        a. Authority to Act. The authority of
                   (International Law or Genera) L!tigation) who             'persons authorized to respond to requests under
                   shall consult and coordinate with DOD Genera!              reference (a) and this instruction is set fonh in
                   Counsel prior to any response to such requests.            enclosure (2).




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                                                         SECNAVINST 5820.8A
                                                          Z7 AUG 1991
           b.  Litiqation requests reqardinq matters assiqned to
       the General Counsel of the Nayy under Navy Regs., art. 0327
       (1990), shall be referred to the cognizant Command Counsel under,
       and subject to, limitations set forth in paragraph 4b. That
       Command Counsel may either respond or refer the matter for action
       to another office. Requests involving asbestos litigation shall
       be referred to the Office of Counsel, Navel Sea Systems Command
       Headquarters, Personnel and Labor Law Section (Code OOLD), Wash-
       ington, DC 20362-5101. Matters not clearly within the purview of
       a particular command counsel shall be referred to Associate
       General Counsel (Litigation), who may either respond or refer the
       matter for action to another office.
            c . Matters involvinq the Armed Seryices Board of Contract           (R
       Appeals shall be forwarded to these respective counsel except
       where the determination may involve the assertion of the
       deliberative process privilege before that Board. In such an
       event, the matter shall be forwarded for determination to the
       As sociate General Counsel (Litigation).
       4 . Litigation matters in which the United States is not, and is
       reasonably not expected to become, a party
          a. Matters within the cognizance of the Judge Advocate
       General
              (1) Fact witnesses . Requests to interview, depose, or
      obtain testimony of any present or former DON personnel as
      defined in enclosure (1), paragraph 2 about purely factual
      matters shall be forwarded to the Navy or Marine Corps officer
      exercising general court-martial jurisdiction (OEGCMJ) in whose
      chain of command the prospective witness or requested documents
      lie. That deterrnining authority will respond for the Judge
      Advocate General under criteria set forth in enclosure (5) .
                   (a) If the request pertains to personnel assigned to
      the Office of the Chief of Naval Operations, the Office of the
      Vice Chief of Naval Operations, or an Echelon 2 command located
      in the Washington, DC, area, it shall be forwarded to that office
      which will likewise respond for the Judge Advocate General under
      the criteria set forth in enclosure (5).
                  (b) If a request pertains to Marine corps personnel
      assigned to Headquarters Battalion, Headquarters Marine Corps, or
      to other Marine Corps commands located in the Washington, DC
      area, it shall be forwarded to the Commandant of the Marine Corps
      (JAR), Headguarters, U.S. Marine Corps, which will respond for
      the Judge Advocate Genera! under criteria set forth in enclosure
      { 5).

                                        3                     Enclosure (3)
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n        SECNAVINST 582 0 . 8A CH- 1
         10 January 20 05

                     (c} Nothing here shal l prevent a det ermini ng authority
         from re ferring requests or dema nds t o another de termin i ng
         authority better suited under the circumsta nces to det ermine the
         matter and respond, but the r equester sha l l be no t ified of the
         referral. Further, each determining authority specified i n t his
         paragraph may fur ther de l egat e hi s or her decisi ona l authority
         toa principal sta f f member, staff judge advocate , o r l egal
         advisor .

                      (d) In the alternative, the re que ster may forward t he
         r egue s t to the DAJAG for Genera l Litigation, who may refer the
         matter to another determi ning authori ty for response , and so
         not ify the r equeste r .

               (2) Visi ts and vi ews . A request to visit a DON activity,
        ship, or unit , o r to insp ect material or spaces loca ted there
        will be for warde d to one of the authorities stated i n paragraph
        4a(l} , who will respond on behal f o f the Jud ge Advocate General.
        Action taken by that authority will be coordinated with the
        commandi ng officer of the activi ty, ship, or unit at issue , or
        with his or her staff judge advocate (if applicable) . The
        mil itary miss i on of the uni t shal l normal l y take precede nce over
        any vi sit or view. The cornmanding officer may i ndependen tly
        prescribe reasonable conditions as to time, place, and
        circumst ance t o protec t against comprornise of classified or
        privileged material , intrusi on into r estr icted spaces , and
        unauthoriz ed photography.

                (3) Documents . 10 O.S.C. § 7861 (1988) provides that the
        Secretary of the Navy has custody a nd c harge of al l DON books ,
        reco rds , and prope rty. Onder DOD Directive 5530 .1 of 22 Augus t
        1983 (NOTAL), t he Secretary of the Navy ' s sole de l e gate for
        s erv ice of process is t he Genera l Counsel of the Navy. See 32
        C. F.R . § 257. S (c ). All pro cess for such documents shall be
        served via ce r tified mail or Fede ral Expres s upon the:
        Genera l Counsel o f the Navy , Navy Li t i gation Office, 720 Kennon
        Street SE , Bldg 36 Room 233, Wa s h ington Na vy Yard , DC 20374 -
        5013, (202) 685-7 039, who will r efer the matter to t he proper
        del ega te for action. Mat t ers referred to the Judge Advocate
        General will norma lly be provided to the determining a uthorities
        described in p arag raphs 3 and 4. That authority will respond
        per criter i a in enc l os ure {5) . Process not prope rly s erved on
        the General Counsel is insufficient to constitute a legal demand
        and shall be process e d as a request by counsel. Reques ts for
        documents maintained by the National Personnel Records Center
        wil l b e determi ned by the officiaJ. prov ided in enclosure (5 ),
        peragraph 2(b } (3).


        Enclosure (3 )                     4
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                               UNITED STATES MARINE CORPS
                            MARINE FORCES SPECIAL OPERATIONS COMMANO
                                          PSC BOX 20J.l6
                                   CAMP LEJEUNE NC 28542-0lJ.6

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                                                                         5800
                                                                         cos
                                                                       18 MAY 2022
   FIRST ENDORSEMENT on Maj Mast's l tr 5800 JKM of 17 May 2022

   From:    Chief of Staff, Marine Farces Special Operations Command
   To :     Major Joshua Mast, USMC

   Subj :   PERMISSI~N TO TESTIFY ON MY DAUGHTER'S BEHALF INA VIRGINIA
            STATE PROCEEDING

   1. As per the refe rences , I have reviewed the attached reg\lest and believe
   approving it furthers DoN policy to make official information reasonably
   available for civilian court proceedings.

   2. As per reference (b), I have been delega t ed the authority to approve this
   request.

  3. Your reg\test to utilize official information and relevant unclassified
  documents is approved.

                                         Redacted
                                               By Direction




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